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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


Judy Thomas,                                              )
                                                          )
                                                          )
                             Plaintiff,                   )   Civil Action No. 1:21CV10245-WGY
                                                          )
              v.                                         )
                                                          )
                                                          )
                                                          )
                                                          )
 Jones Day,                                               )
                             Defendant,                   )


                           ORDER WITH RESPECT TO MEDIATION

NEIMAN, U.S.M.J.

       The parties are hereby notified that the court has scheduled a mediation conference on

February 24, 2022, at 10:00 a.m., by Video Conference. Counsel are directed to be present with

their respective clients or representatives thereof without limitation on their authority to negotiate and

commit to settlement terms that, in their discretion, may be acceptable. It shall be understood (a) that

all parties and counsel will participate in this court-sponsored mediation in good faith and with the

interest of settling the matter on mutually acceptable terms, (b) that the entire mediation process,

including all communications during any in-person, video or audio part thereof, is confidential, (c) that

all statements made during the course of mediation are privileged settlement discussions, made

without prejudice to any party's legal position, and inadmissible for any purpose in any legal

proceeding, (d) that no party, participant, or representative shall seek in any proceeding to hereafter

compel the mediator to testify and/or produce any document with respect to the mediation, and (e)

that all parties, counsel and other participants agree that, by participating in this court-

sponsored mediation, they are bound by these conditions and shall keep confidential all

communications exchanged during the mediation process.
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       By no later than February 17, 2022, each party shall provide under seal an updated

confidential settlement memorandum of no more than four pages addressing with candor the

following points:

           A brief analysis of the key issues involved in the litigation, including a specific

           breakdown of the claimed damages.

           1.       A description of the strongest and weakest legal and factual points in the party’s

                    case.

           2.       A description of the strongest and weakest legal and factual points in the

                    opponent’s case.

           3.       The status of settlement negotiations, including the last settlement proposal

                    made by each side.    In this regard, counsel are directed to confer with their

                    clients in advance of the mediation conference to explore the party’s settlement

                    position, and the parties are encouraged to exchange settlement proposals

                    prior to the conference.

           4.       The settlement proposal that the party believes would be fair.

           5.       The settlement proposal that the party would be willing to make in order to

                    conclude the matter at this time.

    Each memorandum shall be sealed, held in confidence by the court and returned to the party

    at the conclusion of mediation.    The memoranda shall be submitted to the court by email to

    Tamara_Figueroa@Mad.uscourts.gov.

           In the event any party believes the case is not ripe for mediation, please notify other

    counsel and the court as soon as possible.

           IT IS SO ORDERED.


    DATED: November 23, 2021,                           /s/ Kenneth P. Neiman
                                                        KENNETH P. NEIMAN
                                                        United States Magistrate Judge
